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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

LAREDO DIVISION
UNITED STATES OF AMERICA §
. : CRIMINAL NO. 5:20-CR-632-6
JESSICA SALINAS g
PLEA AGREEMENT

The United States of America, by and through Ryan K. Patrick, United States Attorney for
the Southern District of Texas, and Graciela R. Lindberg, Assistant United States Attorney, and
the Defendant. Jessica Salinas, and Defendant’s counsel, pursuant to Rule 11(c¢)1)(A) and
1 1(c)\(1)(B) of the Federal Rules of Criminal Procedure, state that they have entered into an
agreement, the terms and conditions of which are as follows:

Defendant's Agreement

1. Defendant agrees to plead guilty to Count Eight (8) of the Indictment filed in this
cause. Count Eight (8) of the Indictment charges Defendant with possessing with intent to
distribute 1 kilogram or more of heroin, in violation of Title 21, United States Code, Sections
841(aX1), 841(b\ 1)(A), and Title 18, United States Code, Section 2, Defendant, by entering this
plea, agrees that he is waiving any right to have the facts that the law makes essential to the
punishment cither charged in the indictment, or proved to a jury or proven beyond a reasonable
doubt,

Punishment Range

2. The statutory maximum penalty for cach violation of Title 21, United States Code,
Sections 841(a)(1), and 841(b1)(A), is imprisonment of not less than 10 years, up to life
imprisonment, and a fine of not more than $10,000,000. Additionally, Defendant may receive a

term of supervised release after imprisonment of at least 5 years and up to life. See Title 18,

 
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United States Code, sections 355%(a\3) and 3583(b)(2). Defendant acknowledges and
understands that if he should violate the conditions of any period of supervised release which may
be imposed as part of his sentence, then Defendant may be imprisoned for the entire term of
supervised release, without credit for time already served on the term of supervised release prior
to such violation. See Title 18, United States Code, sections 3559(a)3) and 3583(e)(3).
Defendant understands that he cannot have the imposition or execution of the sentence suspended,
nor is he/she eligible for parole.
Mandatory Special Assessment

3. Pursuant to Title 18, United States Code, section 3013(a)(2 A), immediately after
sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment
in the amount of one hundred dollars ($100.00) per count of conviction, The payment will be by
cashier's check or money order, payable to the Clerk of the United States District Court, c/o
District Clerk’s Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

Immigration Consequences

4. The Defendant recognizes that pleading guilty may have consequences with respect to
his immigration status, Defendant understands that if he is not a citizen of the United States, by
pleading guilty he may be removed from the United States, denied citizenship, and denied
admission to the United States in the future. Defendant understands that if he is a naturalized
United States citizen, pleading guilty may result in immigration consequences, such as
denaturalization and potential deportation or removal from the United States. Defendant's attorney
has advised Defendant of the potential immigration consequences resulting from defendant's plea
of guilty, and Defendant affirms that he wants to plead guilty regardless of any immigration
consequences that may result from the guilty plea and conviction.

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Cooperation

5. The parties understand this agreement carries the potential for a motion for departure
under Section SK1.1 of the Sentencing Guidelines, Defendant understands and agrees that
whether such a motion is filed will be determined solely by the United States through the United
States Attomey for the Southern District of Texas. Should Defendant's cooperation, in the sole
judgment and discretion of the United States, amount to “substantial assistance,” the United States
reserves the sole right to file a motion for departure pursuant to Section SK 1.1 of the United States
Sentencing Guidelines. Defendant further agrees to persist in that plea through sentencing, fully
cooperate with the United States, not oppose any forfeiture of assets contemplated in this
agreement. Defendant understands and agrees that the United States will request that sentencing
be deferred until that cooperation is complete.

6, Defendant understands and agrees that “fully cooperate,” as that term is used herein,
includes providing all information relating to any criminal activity known to Defendant, including
but not limited to drugs, fraud, illegal firearms/immigration. Defendant understands that such
information includes both state and federal offenses arising therefrom. In that regard:

(a) Defendant agrees that this plea agreement binds only the United States

Attorney for the Southern District of Texas and Defendant; it does not bind any

other United States Attorney or any other unit of the Department of Justice;

(b) Defendant agrees to testify truthfully as a witness before a grand jury or in

any other judicial or administrative proceeding when called upon to do so by the

United States. Defendant further agrees to waive his/her Fifth Amendment

privilege against self-incrimination for the purpose of this agreement;

(c) Defendant agrees to voluntarily attend any interviews and conferences as
the United States may request;

(d) Defendant agrees to provide truthful, complete and accurate information
and testimony and understands any false statements made by the defendant to the
Grand Jury or at any court proceeding (criminal or civil), or to a government agent

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or attorney, can and will be prosecuted under the appropriate perjury, false
statement, or obstruction statutes;

(e) Defendant agrees to provide to the United States all documents in his/her

possession or under his/her control relating to all areas of inquiry and investigation;

and

(f) Should the recommended departure, if any, not meet Defendant's

expectations, the Defendant understands that he/she remains bound by the terms of

this agreement and cannot, for that reason alone, withdraw his/her plea.

Waiver of Appeal and Collateral Review

7. Defendant is aware that Title 28, United States Code, section 1291, and Title 18, United
States Code, section 3742, afford a defendant the right to appeal the conviction and sentence
imposed. Defendant is also aware that Title 28, United States Code, section 2255, affords the right
to contest or “collaterally attack” a conviction or sentence after the judgment of conviction and
sentence has become final, Defendant knowingly and voluntarily waives the right to appeal or
“collaterally attack” the conviction and sentence, except that Defendant does not waive the right
to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on
collateral review in a motion under Title 28, United States Code, section 2255. In the event
Defendant files a notice of appeal following the imposition of the sentence or later collaterally
attacks his conviction or sentence, the United States will assert its rights under this agreement and
seek specific performance of these waivers.

8. In agreeing to these waivers, Defendant is aware that a sentence has not yet been
determined by the Court. Defendant is also aware that any estimate of the possible sentencing
range under the sentencing guidelines that he/she may have received from his/her counsel, the

United States or the Probation Office, is a prediction and not a promise, did not induce his/her

guilty plea, and is not binding on the United States, the Probation Office or the Court. The United

 
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States does not make any promisc or representation conceming what sentence the defendant will
receive. Defendant further understands and agrees that the United States Sentencing Guidelines
are “effectively advisory” to the Court. See United States v. Booker, 543 U.S. 220 (2005).
Accordingly, Defendant understands that, although the Court must consult the Sentencing
Guidelines and must take them into account when sentencing Defendant, the Court is not bound
to follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline range.
9. Defendant understands and agrees that each and all waivers contained in the Agreement
are made in exchange for the concessions made by the United States in this plea agreement.
The United States” Agreements
10. The United States agrees to each of the following:
(a) If Defendant pleads guilty to Count Eight (8) of the Indictment and persists
in that plea through sentencing, and if the Court accepts this plea agreement,
the United States will move to dismiss any remaining counts of the
Indictment at the time of sentencing:
(b) The government also agrees that Defendant's prior sentence for March 7,
2019 offense, will not preclude her from seeking safety valve lo the extent
that she will not be penalized or receive a harsher sentence for both pending
charge and March 7, 2019 charge being sentenced separately as opposed to
combining drug amounts into a single sentence (with safety valve); and
(c) If the Court determines that Defendant qualifics for an adjustment under
section 3E1.1{a) of the United States Sentencing Guidelines, and the offense
level prior to operation of section 3E1.1(a) is 16 or greater, the United States
will move under section 3E1.1(b) for an additional onc-level reduction
because Defendant timely notified authorities of his or her intent to plead
guilty, thereby permitting the United States to avoid preparing for trial and
permitting the United States and the Court to allocate them resources more
efficiently.
Agreement Binding - Southern District of Texas Only
11. The United States Attorney’s Office for the Southern District of Texas agrees that it

will not further criminally prosecute Defendant in the Southem District of Texas for offenses

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arising from conduct charged in the indictment. This plea agreement binds only the United States
Attorney’s Office for the Southern District of Texas and Defendant. It docs not bind any other
United States Attorney's Office. The United States Attorney's Office for the Southern District of
Texas will bring this plea agreement and the full extent of Defendant's cooperation to the attention
of other prosecuting offices, if requested.
United States’ Non-Waiver of Appeal

12. The United States reserves the right to carry out its responsibilities under guidelines
sentencing. Specifically, the United States reserves the right:

(a) _ to bring its version of the facts of this case, including ils evidence file and

any investigative files, to the attention of the Probation Office in connection with

that office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts matcrial to sentencing;

(c) to seek resolution of such factors or facts in conference with Defendant's
counsel and the Probation Office:

(d) to file a pleading relating to these issues, in accordance with section 6A1.2

of the United States Sentencing Guidelines and Title 18, United States Code,

section 3553(a); and

(c) to appeal the sentence imposed or the manner in which it was determined,

Sentence Determination

13. Defendant is aware that the sentence will be imposed after consideration of the United
States Sentencing Guidelines and Policy Statements, which are only advisory, as well as the
provisions of Title 18, United States Code, Section 3553(a). Defendant nonctheless
acknowledges and agrees that the Court has authority to impose any sentence up to and including

the statutory maximum set for the offense(s) to which Defendant pleads guilty, and that the

sentence to be imposed is within the sole discretion of the sentencing judge after the Court has
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consulted the applicable Sentencing Guidelines. Defendant understands and agrees that the
parties’ positions regarding the application of the Sentencing Guidelines do not bind the Court and
that the sentence imposed is within the discretion of the sentencing judge. If the Court should
impose any sentence up to the maximum established by statute, or should the Court order any or
all of the sentences imposed to run consecutively, Defendant cannot, for that reason alone,
withdraw a guilty plea, and will remain bound to fulfill all of the obligations under this plea
agreement.
Rights at Trial

14. Defendant understands that by entering into this agreement, he/she surrenders certain
rights as provided in this plea agreement. Defendant understands that the nights of a defendant
include the following:

(a) If Defendant persisted in a plea of not guilty to the charges, defendant would

have the right to a speedy jury trial with the assistance of counsel. The trial may

be conducted by a judge sitting without a jury if Defendant, the United States, and

the court all agree.

(b) — At atrial, the United States would be required to present witnesses and other

evidence against Defendant. Defendant would have the opportunity to confront

those witnesses and his/her attorney would be allowed to cross-examine them. In

tum, Defendant could, but would not be required to, present witnesses and other

evidence on his/her own behalf. If the witnesses for Defendant would not appear

voluntarily, he/she could require their attendance through the subpoena power of

the court; and

(c) Ata trial, Defendant could rely on a privilege against sclf-incrimination and

decline to testify, and no inference of guilt could be drawn from such refusal to

testify. However, if Defendant desired to do so, he/she could testify on his/her

own behalf.

Factual Basis for Guilty Plea
15. Defendant is pleading guilty because he is in fact guilty of the charge contained in

Count 8 of the indictment. If this case were to proceed to tnal, the United States could prove

 
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cach element of the offense beyond a reasonable doubt. The following facts, among others would
be offered to establish Defendant's guilt:

[See attached factual basis.]

Breach of Plea Agreement

16. If Defendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and Defendant's plea and sentence will stand. If at any time Defendant retains,
conceals, or disposes of assets in violation of this plea agreement, or if Defendant knowingly
withholds evidence or is otherwise not completely truthful with the United States, then the United
States may move the Court to set aside the guilty pica and reinstate prosecution. Any information
and documents that have been disclosed by Defendant, whether prior to or subsequent to this pica
agreement, and all Icads derived therefrom, will be used against defendant in any prosecution.

Restitution, Forfeiture, and Fines — Generally

17. This Plea Agreement is being entered into by the United States on the basis of
Defendant's express representation that he/she will make a full and complete disclosure of all
assets over which he/she exercises direct or indirect control, or in which he/she has any financial
interest. Defendant agrees not to dispose of any assets or take any action that would effect a
transfer of property in which he/she has an interest, unless Defendant obtains the prior written
permission of the United States.

18, Defendant agrees to make complete financial disclosure by truthfully executing a
sworn financial statement (Form OBD-500 or similar form) within 14 days of signing this plea
agreement. Defendant agrees to authorize the release of all financial information requested by
the United States, including, but not limited to, executing authorization forms permitting the

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United States to obtain tax information, bank account records, credit histories, and social security
information. Defendant agrees to discuss and answer any questions by the United States relating
to Defendant's complete financial disclosure.

19. Defendant agrees to take all steps necessary to pass clear title to forfcitable assets to
the United States and to assist fully in the collection of restitution and fines, mcluding, but not
limited to, surrendering title, executing a warranty deed, signing a consent decree, stipulating to
facts regarding the transfer of title and the basis for the forfeiture, and signing any other documents
necessary to effectuate such transfer. Defendant also agrees to direct any banks which have
custody of his/her assets to deliver all funds and records of such assets to the United States.

20. Defendant understands that forfeiture, restitution, and fines are separate components
of sentencing and are separate obligations.

Restitution

21. Defendant agrees to pay full restitution to the victim(s) regardless of the count(s) of
conviction. Defendant stipulates and agrees that as a result of his criminal conduct, the viclim(s)
incurred a monetary loss of at least $0. Defendant understands and agrees that the Court will
determine the amount of restitution to fully compensate the victim(s). Defendant agrees that
restitution imposed by the Court will be due and payable immediately and that Defendant will not
attempt to avoid or delay payment. Subject to the provisions of paragraph 7 above, Defendant
waives the right to challenge in any manner, including by direct appeal or in a collateral
proceeding, the restitution order imposed by the Court,

Forfeiture
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22. Defendant stipulates and agrees that any property listed in the Indictment’s Notice of
Forfeiture, if any, (and in any supplemental Notices) is subject to forfeiture, and Defendant agrees
to the forfeiture of that property.

23. Defendant agrees to waive any and all interest in any asset which is the subject of a
related administrative or judicial forfeiture proceeding, whether criminal or civil, federal or state.

24. Defendant consents to the order of forfeiture becoming final as to Defendant
immediately following this guilty plea, pursuant to Federal Rule of Criminal Procedure
32.2(bW4 (A).

25, Subject to the provisions of paragraph 7 above, Defendant waives the right to
challenge the forfeiture of property in any manner, including by direct appeal or in a collateral
proceeding.

Fines

26. Defendant understands that under the Sentencing Guidelines the Court is permitted to
order Defendant to pay a fine that is sufficient to reimburse the government for the costs of any
imprisonment or term of supervised release, if any. Defendant agrees that any fine imposed by the
Court will be due and payable immediately, and Defendant will not attempt to avoid or delay
payment. Subject to the provisions of paragraph 7 above, Defendant waives the right to challenge
the fine in any manner, including by direct appeal or in a collateral proceeding.

Complete Agreement

27. This written plea agreement, consisting of 14 pages, including the attached addendum
of Defendant and his attomey, constitutes the complete plea agreement between the United States,
Defendant, and Defendant’s counsel. No promises or representations have been made by the
United States except as set forth in writing in this plea agreement, Defendant acknowledges that

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no threats have been made against him and that he is pleading guilty freely and voluntarily because
he is guilty.
28. Any modification of this plea agreement must be in writing and signed by all parties.

Filed at Laredo, Texas,on _, 2020.

Jessica Salinas,
Defendant

Subscribed and sworn to before me on , 2020.

DAVID J. BRADLEY, Clerk
UNITED STATES DISTRICT CLERK

 

 

By
Deputy United States District Clerk
APPROVED:
RYAN K. PATRICK
United States Attorney \
By: bins krdonr . (LOU
Graciela R. Lindberg Adriana Arce-E

Assistant United States Attomcy Attorney faf Defendant

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

LAREDO DIVISION
UNITED STATES OF AMERICA §
v. ; CRIMINAL NO, 5:20-CR-632-6
JESSICA SALINAS g

PLEA AGREEMENT —- ADDENDUM

| have fully explained to Defendant his/her rights with respect to the pending indictment. |
have reviewed the provisions of the United States Sentencing Commission's Guidelines Manual
and Policy Statements and | have fully and carefully explained to Defendant the provisions of
those Guidelines which may apply in this case. I have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up to the maximum
allowed by statute per count of conviction. Further, | have carefully reviewed every part of this

plea agreement with Defendant. To my knowledge, Defendant's decision to enter into this

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\Lhay consulted with my attorney and fully understand all my rights with respect to the

agreement is an informed and voluntary one.

  

indictment pending against me. My attorney has fully explained, and | understand, all my rights
with respect to the provisions of the United States Sentencing Commission’s Guidelines Manual
which may apply in my case. I have read and carefully reviewed every part of this plea agreement

with my attorney. I understand this agreement and I voluntarily agree to its terms.

Jessica Salinas Date
Defendant

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

LAREDO DIVISION
UNITED STATES OF AMERICA §
v. ; CRIMINAL NO. 5:20-CR-632-6
JESSICA SALINAS ;

FACTUAL STATEMENT IN SUPPORT OF PLEA AGREEMENT

The United States of America, by and through Ryan K. Patrick, United States Attomey for
the Southern District of Texas and Graciela R. Lindberg, Assistant United States Attorney, and the
defendant, Jessica Salinas, and the defendant's counsel, hereby stipulate as follows:

I.

If this case proceeded to trial, the United States of America would prove cach element of
the offense beyond a reasonable doubt. The following facts, among others, would be offered to
establish the Defendant's guilt:

On April 13, 2019, Drug Enforcement Administration (DEA) Confidential Source (CS)
told DEA Special Agents in Laredo, Texas, that Jessica Salinas would drive from Dallas to Laredo
to receive a drug-laden car battery from the CS on behalf of another co-conspirator. Agents were
told that Salinas would be driving a red Hyundai. The CS knew this information because of phone
calls he had with sealed Co-Defendant Number 4, beginning on April 7, 2019,

On April 17, 2019, the CS informed Agents that Salinas had arrived in Laredo early that
morning, and identified which hotel and room Salinas was staying in. At 9:52 a.m., the CS and
Agents arrived at the hotel. At 9:53 a.m., Agents observed as the CS took the battery out of the
CS’ vehicle, met with Salinas, and installed the drug-laden battery into Salinas’ Hyundai. Aerial

surveillance captured vidco of Salinas standing next to the hood of the car as the CS installed the
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battery into the car. Once the battery was installed, Jessica Salinas drove to the U.S. Border Patrol

checkpoint on Interstate Highway 35, north of Laredo, Texas. At the primary inspection lane, a

service canine alerted to her vehicle. In the inspection lane, Agents discovered the car battery,

which contained 4.9 kilograms of black tar heroin.

A search of Salinas’ cellular phone revealed a conversation with sealed Co-Defendant

Number 4, in which Salinas told scaled Co-Defendant Number 4 that she was willing to leave for

Laredo, and had sufficient money for gasoline, but wanted confirmation from sealed Co-Defendant

Number 4 prior to leaving Dallas.

Defendant, JESSICA SALINAS, hereby confesses and judicially admits that on April 17,

2019, she knowingly possessed with intent to distribute 1 kilogram or more of heroin, in violation

of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1 A).

APPROVED:

RYAN K. PATRICK
UNITED STATES ATTORNEY

By: fp kndnr
Graciela R. Lindbefg
Assistant United States Attorney

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Jessica Salinas
Defendant

 
 
 

Adriana Arce-
Attorney for
